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                             DECLARATION OF ANDREA G. KAHN

         I, Andrea G. Kahn, hereby certify as follows:

         1.       I am an associate of the firm of Kelley Drye & Warren LLP, which is located at

101 Park Avenue, New York, New York 10178.

         2.       I have been admitted to practice before the following courts on the dates

indicated:

                                                                           DATE ADMITTED

State of New York                                                              06/11/07




         3.       1 am an attorney in good standing and eligible to practice in the above-referenced

jurisdiction.

         4.       I have not been suspended or disbarred in any jurisdiction, and no disciplinary

actions are pending against me.

         5.       A certificate of good standing for the New York Appellate Division, First

Department and a certificate of admission to practice in the Court of Appeals, State of New York

are attached hereto.

         6.       1 am familiar with the Local Rules of the United States District Court for the

District of Massachusetts and agree to abide by them.

         I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, that the foregoing is true

and correct. Executed on March 12, 2010.

                                                By:
                                                      Andrea G. Kahn




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Supreme Tourt of toe Statr of Nefo York, Airst Jubicirxl

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                      ANDREA GAIL KAHN
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                                                         Df RpPC^tAg
                                                     STATE OF NEW YORK
                                                       CLERK'S OFFICE


                 I, STUART M COHEN, Clerk of the Court of Appeals of the State of New York; CERTIFY, that

                                                  ANDREA GAIL .,KAHN
 was admitted to practice law in all of the courts of the State of New York at the Appellate Division of the Supreme Court, held at
 New York New York on June 11, 2007, and that that name has been entered and appears in the Official Register of Attorneys and
 Counselors at Law in the State of New York


                                                                        9ro A
                                                                              I have signed this certificate and affrxed the seal of
                                                                              the Court ofAppeals at the City ofAlbany in the State
                                                                              of New York this I P* day ofMarch, 2010.




                                                                              Stuart M. Cohen
                                                                              Clerk of the Court

                    I, JONA THAN LIPPMAN, Chief Judge of the Court of Appeals of the State of New York
                     CERTIFY, that the certification ofSTUART M. COHEN, Clerk of the Court of Appeals,
                                is in proper form and that it is entitled to full faith and credit.




Dated at Albany, NY,                                                         Jonathan Lippman
March 11, 2010                                                               Chief Judge
